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              EXHIBIT B
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          IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

       IN RE DOLLAR THRIFTY                           :
       SHAREHOLDER LITIGATION                         :
                                                      :       Consolidated
                                                      :       CA NO. 5458-VCS


                                         -   -   -




                                         Chancery Courtroom No. 12A
                                         New Castle County Courthouse
                                         Wilmington, Delaware
                                         Wednesday, August 25, 2010
                                         9:45 a.m.


       BEFORE: HON. LEO E. STRINE, JR., Vice Chancellor.




                                 ORAL ARGUMENT




                         CHANCERY COURT REPORTERS
                   500 North King Street - Suite 11400
                     Wilmington, Delaware 19801-3759
                              (302) 255-0525
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   1   along the same metrics that Goldman, Sachs and

   2   J.P. Morgan did, but using proper basis for those

   3   metrics. For example --

   4                        THE COURT: What is his DCF value?

   5                        MR. GRYGIEL: I don't have it right

   6   off the top of my head. It's being handed to me. Our

   7   DCF analysis indicated share values for DTG ranging

   8   from $44.25 to $57.93.

   9                        THE COURT: Wasn't he in Lear?

  10                        MR. GRYGIEL: I don't remember that.

  11   That's before my time in Delaware, sir.

  12                        THE COURT: I think it was materially

  13   north of zero. And I think it was in excess of a

  14   fairly very valuable offer that stockholders then

  15   rejected, and now they have the benefit of a "Now

  16   discussed, tell us song." It's called less than zero.

  17                        MR. GRYGIEL: I'm not familiar with

  18   the song, Your Honor. You were asking a moment ago,

  19   though, about this why. As I mentioned, I don't

 20    believe you can show unreasonable conduct in a

 21    Revlon-Unocal situation that I need to be able to show

 22    the motive.

 23                         As Your Honor gathered --

 24                         THE COURT: I understand. What I want

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   1   to isolate there is, look, you're a very, very good

   2   lawyer. You are not challenging the motives of these

   3   folks.

   4                        MR. GRYGIEL: Well, Your Honor --

   5                        THE COURT: You either are or you

   6   aren't. Because if you aren't, then that has an

   7   implication. Because then I have to think about why

   8   well-motivated people would -- like there's probably

   9   very few people in the world who would benefit more

  10   from a $57 price than Mr. Thompson. On the other

  11   hand, there are also people then -- honestly, we're

  12   running a company and we're running it for everyone

  13   and our stock price has been volatile. We think we've

  14   actually done a very good job. We actually think that

  15   we're not in a big growth market. And if we can get

  16   something that reflects -- durably reflects the value

  17   of that, have the prospect of, frankly, smoking out

  18   Avis, because now they have to gulp and say, look, if

  19   we're really interested, we better do this or it's

 20    gone, that that essentially captures for everyone the

 21    opportunity to harvest the board's belief that they

 22    had pushed this thing. They had squeezed this lemon

 23    and this was now a good time to sell.

 24                         There is a notion -- right? --that it

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